64 F.3d 658
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William M. LEWIS, Jr., Plaintiff--Appellant,v.CIRCUIT COURT, COMMONWEALTH OF VIRGINIA, Defendant--Appellee.
    No. 95-2073.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 27, 1994Decided Aug. 16, 1995
    
      William M. Lewis, Jr., appellant Pro Se.
      Alice Ann Berkebile, Office of the Atty. Gen. of VA., Richmond, VA., for appellee.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Lewis v. Circuit Court, Commonwealth of Virginia, No. CA-95-258-3 (E.D.Va. May 11, 1995).  Accordingly, we affirm.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    